       Case 2:18-bk-15829-NB Doc 161 Filed 12/12/18 Entered 12/12/18 14:50:22                                        Desc
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Rev. 12/2015

                                                United States Bankruptcy Court
                                                  Central District of California
                                               255 East Temple Street, Los Angeles, CA 90012

           ORDER FOR RELIEF AND ORDER TO FILE SCHEDULES, STATEMENTS AND LIST(S)


    DEBTOR(S) INFORMATION:                                                  BANKRUPTCY NO. 2:18−bk−15829−NB
     Philip James Layfield                                                  CHAPTER 7
    aka Philip Samuel Pesin
    SSN: xxx−xx−0000
    EIN: N/A
    8 The Green, Suite 6426
    Dover, DE 19901



Order/Notice to the parties in interest:

An involuntary Chapter 7 petition having been filed against the above−named debtor on May 21, 2018

       Debtor consented to the entry of an order of relief.

       No pleading or other defense to the petition having been filed within 21 days after service of the summons (or within
       any longer period of time precribed by the Court), an Order for Relief is hereby issued against the debtor.



Debtor is ordered to file within seven days after entry of this order for relief, a list containing the name and address of each
entity included on Schedule D, E/F, G, and H as prescribed by the Official Forms (Federal Rule of Bankruptcy Procedure 1007
(a)(2)).
Debtor is also ordered to file schedules, statement and Statement About Your Social Security Numbers (Official Form B121)
referred to in Federal Rule of Bankruptcy Procedure 1007(a),(c) and (f) within 14 days after entry of this Order For Relief.



                                                                              For The Court,
Dated: December 12, 2018                                                      Kathleen J. Campbell
                                                                              Clerk of Court




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